 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               Elton J. Tate
                       __________________________________________________________________

                         Arrica S. Tate
 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern District                 Michigan
 United States Bankruptcy Court for the: _____ _______________ District of __________
                                                                             (State)
                        15-43785-sjs
 Case number            ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                     US Bank Trust N.A, as Trustee
 Name of creditor: _______________________________________                                                                   7
                                                                                           Court claim no. (if known): ________________

 Last 4 digits of any number you use to                     4 ____
                                                                9 ____
                                                                   4 ____
                                                                       6
 identify the debtor’s account:                            ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 x
       No
       Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
                   Property Insurance Advanced
 11. Other. Specify:____________________________________                    8/29/2021
                                                                         _________________________________           (11)       873.00
                                                                                                                            $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                         page 1
            15-43785-lsg               Doc 116         Filed 04/09/21        Entered 04/09/21 10:00:00              Page 1 of 3
               Elton J. Tate                                                                                            15-43785-sjs
Debtor 1      _______________________________________________________                      Case number (if known) _____________________________________
              First Name      Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

     I am the creditor.
  x
     I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             __________________________________________________
                    /s/ Panayiotis D. Marselis
                 Signature
                                                                                           Date     4      9   2021
                                                                                                   ____/_____/________




                   Panayiotis D. Marselis                                                           Attorney for Creditor
 Print:          _________________________________________________________                 Title   ___________________________
                 First Name                      Middle Name        Last Name



 Company           Hladik, Onorato & Federman, LLP
                 _________________________________________________________



 Address          3290 W. Big Beaver Rd., Ste 118
                 _________________________________________________________
                 Number                 Street
                 Troy                              MI      48084
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone     248
                 (______)  519
                          _____– 4112
                                 _________                                                       pmarselis@hoflawgroup.com
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
           15-43785-lsg             Doc 116               Filed 04/09/21         Entered 04/09/21 10:00:00                  Page 2 of 3
                         UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN (DETROIT)

 In re:

          Elton J Tate, Sr.,                         Chapter 13
          Arrica S Tate,                             Case No.: 15-43785-sjs
                                                     Hon. Successor to Judge Shefferly
             Debtor.
 ________________________________/

                                   PROOF OF SERVICE

 Panayiotis D. Marselis says that on April 9, 2021, I served a copy of the Notice of
 Postpetition Mortgage Fees, Expenses, and Charges upon the following parties either
 electronically, or by depositing in the U.S. Mail, postage prepaid:

  Krispen S. Carroll                       James P. Frego, II
  719 Griswold                             Frego & Assc.-The BankruptcyLaw Office
  Suite 1100                               23843 Joy Road
  Detroit, MI 48226                        Dearborn Heights, MI 48127
  (via CM/ECF Notification)                (via CM/ECF Notification)

  Elton J Tate, Sr.                        Arrica S Tate
  30640 Nelson Cir                         30640 Nelson Cir
  Westland, MI 48186                       Westland, MI 48186
  (via Regular First Class Mail)           (via Regular First Class Mail)


                                                     /s/ Panayiotis D. Marselis
                                                     Panayiotis D. Marselis (P66572)
                                                     3290 W. Big Beaver, Ste. 117
                                                     Troy, MI 48084
                                                     (248) 362-2600
                                                     bankruptcy@hoflawgroup.com




15-43785-lsg      Doc 116      Filed 04/09/21   Entered 04/09/21 10:00:00     Page 3 of 3
